United States Bankruptcy Court
Northern District of Ca!ifornia

In re Tsai Luan Ho Case No. 1 8-30581

 

Debtor(s) Chapter 7

 

AMENDMENT COVER SHEET

Amendnient(S) to the following petition, iist(s), sehedule(s) or statement(S) are transmitted herewith:
Scheclu|e F '

NOTICE OF AMENDMENT(S) TO AFFECTEI} PARTIES

Pnrsnant to Federal Rnle of Bankruptcy Procedure 1009(a), l certify that notice of the filing of the amendment(s) listed above has
been given this date to any and all entities affected by the amendment as follows:

Date: June 25, 2018 lsi Pau| R. Shankman
Pauf R. Shankrnan
Attoi'ney for Debtor(s)
HINDS & SHANKMAN, LLP
21257 Hawthorne Boulevard
Second Fioor
Torrance, CA 90503
(310) 316-0500 Fax:(310) 792-5977
jhinds@jhindslaw.com; pshankman@jhinds|aw.com;
rsposato@jhincfsa|aw.com

Software Copyrighl (c) 1996-2018 Best Casa, LLC ~ www.bestcase.com Eest Case Bankruptcy

Case: 18-30581 Doc# 17 Filed: 06/25/18 Entered: 06/25/18 09:55:04 Page 1 of 6

 

.l - _ iifOrmalion to'irientii`iii'nur oa'oo: n
Dobtori Tsai Luan Ho y
FhoiNamo ` ' ' Middle blame LesiNama

Debtor 2
(Spoueo if,- iil_irig} Fir_ot iiarna Nildd|e blame ' Loei Nruno

 

Un|ied Statee Baultruptcy Gou`it for the: NORTHERN DlSTRiCT OF OALiFORNiA

Cese number 18~3058'[
ttkn¢~vni l Chocicifthists_on

amended filing

 

 

 

QHLcia| Form 'iUE)EfF ~
Schedule ElF: Creditors Who Havo Unsecured C_lai_ms 12!15

Be_ as complete and accurate as possivte. 1350 Part 'l for creditors with FRItJRiTY claims and Port 2 for creditors with NONPRZOR|`FY claime. Llsi; the other party to
any executory contracts or unexpired Eeaees that could result in a ola|m`. Alco list executory contracts on Schodu|e AIB: Property (Ofiiciai Form iDENB) and on
Sohocluie G: Eireoutory Gontracto and Uno;cpirecl i..eases {Ochiai i=orru 1066}. Do'n_uttncludo any creditors with partially'securor£ claims that are listed in
Schodu_ie D: C_roditore Who l-iuva Oluima Secured by Proporty. if more space ls noecled, oopy the Part`you need, tiii it cut, number the entries tuttle boxes orr mo
loit. 'Attach the Coutinuotion P_age to this page. ii‘you have no information to report in a i-"ort, do not fiia that Por!. nn the top of any additional page_o, write your

name and case number {lf known}.
i_let All or your PRioRiTY unsecured claims
'i. Do any creditors have priority unsecured claims against you?
n No. Go to i=ari 2.

ill ch.
M_Llst Aii onoui‘ NONPR\_OR|TY Unsocure):i writings

3. Do any creditors have nonpriorlty unsecured claims against you'?
L'.] No. You have nothing to report in this part Sui):oit this form to the court with your other scheduleo.

o Yes.
4. l.l'st-a|| ofyour nonpriority unsecured claims in th_o alphabetical orderotth_e_cr_edltor who holds eaoh‘ciaim.,‘l_f`o credllgif~hti_iim<?{€ than one npnor|orliy '.

.one_oourod _o_ieiru, llet the creditor separain -for ‘ouoh cieirn. For each claim iioiod,':ii;ionlliy what type-of_c]air_r_t.it le;,. ne not,liizt_oie_irpa'elreo§iy ngiti_cied .iri;l?od ii .‘.l_f_ _ l

than one creditor holds _a particulgr,r;|olrn€ ist_tho.olho_r,p__red|lors in‘i’o,r§ ti.l_f.you tiein a ii lt n cured ci fill out lite Conilnllatf ,

    
   
 

  

       

 

 

 

 

 

 

PErf`Z.-
Tsal t.oan
4.? Miiler Stal'i‘ Regaiia _ , Laot ii digits of account number Ha $40,560.77
Ncnprlor|ly creditors blame
351 Caiifornia Si't'oet Wh@i‘l WB¢ 1519 debt hi`f=ul'l'i¥d? §910512€11 5
Suite 11 10
San Frerroisco, CA 94104
Numoer Streai City atele Zip C'ode` Ae of too date you tile, the claim icc shock ali that apply
Wlio incurred the clebt'i‘ Gheck_ ono._
l Dei)ior t only i:i Goniiriger_it
iii occur 2 only iii unliquidated
m chiori and Dou_tcrz only 113 Dlepuled

Type of NONPRIOR|T.Y unsecured claim:

f.'.i Atieaet one ortho debtors and another
L_.i Stuo_ent loans

fl Gheck'ifthis claim le iota community

 

debt |:i Obllgutiona arising out of a separation agreement or divorce that you did net
is tire cialmlaubject to oifsol? report us priority claims
l m ' i:| Debtelo pension or proht'ehariug p|one, and other olmiiardebta
Legal Sorvioeo ~Various Lttigation
m Yei> l oihtii~ SP@D\N Pre-Elanitruptcy llliatters

 

M f.ist Dthors to Eie' Notlfiod About a Dobt Thot ¥oi.t Alroadir Li`stod

5. Use this 'u o oni it ou have others to he notiiieri about your bankruptcy for a-deet that you already listed in Peuts 'i or 2. For example, lia colloction_agoncy
is tryinggo%oiiocitroym you for a debt you owe to someone el$o, Eisttheio;‘iglnai creditor in Pa'rts'l or 2,thon ltstthe ooilectton agency here. Slmliariy, rt you
have more then one creditorior any of ti_ie_dobto that you listed in Parts'l or 2, list the additional creditors haro. if you rio not have additional personam be

notified for any debts in Parts 'l or 2, do u_ot.iiii out or submit this page.

Adcl the Aroounto for Each Tyue ot Unoecured Cleim

6. Totoi the amounts of certain types or unsecured cluime. This information is for otatietlcai reporting purposes only.
type oiunsecured cialm.

28 U.S.t'!. §459. Add fha amounts for each

Otilolol Form too E.'F Scheduie EiF: Gred|toru Who Have tinsecurod Ciuimo Fuge'l of 2

Soilware Gopyr|ghl {o) 1996-auto Besl Guso, LLt`.i wwww.i>eoicooe.com 20599 Be\i, Ciiau Eianitru_ptc`y

Case: 18-30581 Doc# 17 Filed: 06/25/18 Entered: 06/25/18 09:55:04 Page 2 of 6

 

 

nation raid Luan Ho' Cseo number tit knew) 18-30581

 

 

 

 

 

 

  

 

 

 

 

-- '-:.' oe. Domostic support obligations l 66- $ 0.00
Toga;. ., . 1 .- .,- . m l . .A ,i..._..,_._.___.._....,.._-.__..WH, ___
statute _
from Part 1 tib. 'i‘axes and certain othcr`l;l_abto you lowe the government Sb. $ Dt{]t]
uc. Cietms for death or personal injury while you were lntoxlcetod Sc. $ 0_{3{)
Sd. Othor. Alicl all other priority unsecured ciaime. erto that amount here. Scl. $ 0_00
ue. Totoi Priority. Al:ld titles 6a through tiet. 6a
Bi. Studont loans Ei.
mar '
claims
from Psrt `2 'oq. Gi:liigutlons arising out of a separation agreement or divorce that 6 $ ann
you did noi: report as priority claims 9’ _M._._,._.__'__,___
tin. Dohts to pension or profit-sharing plane, and other similar debts title 5 O.UD
6|. Other. Adti eli other nonprler|ly unsecured claims erts that amount 61. $ 401560.77
here ,_,______.._..c....__....“...._.
ol. rural uo_npllouty. Adu lines afternoon ot 61- $ 40,560,77
Oiiiclsi Forln 105 El'F Schedl,tl`e EJF: Creclitore Wito t-lave Linsscured Cie`lme Pege 2 ot 2
fleet case Ben|o‘l.lpluy

Sottwaliel Copyright (o) 1586-2016 Bosi Goea, LLC ~ ymw.hostoeee.oem

Case: 18-30581 Doc# 17 Filed: 06/25/18 Entered: 06/25/18 09:55:04 Page 3 of 6

 

 

United Sta`tes Bankrilptcy Court
Northeru District of- Calif`ornia

fn rs Taai Luan Ho _ CaseNn. 18`~38551 _
` ` Deb_tor(`s) Chaptcr 7 `

 

AlV[ENDED
BECLARATION CONCERN]NG DEBTOR'_S SCHEDULES

DECLARATION UNDER PENALTY OF PERJURY BY INDIVIIJUAL DEBTOR

 

I declare under penalty ofperjury that I have-read the foregoing docv.zment(s),_ consisting of 2 page(s),
and that they are true and correct to the best of my lmowledge, information, and belief

Date J\_mre 22,2`€_3'1`8 Signature K:("‘ j v 1 l

Tsai I`_'uan Ho
Debtor

Pezwlzyfor making ajizlse_statemem or concealing property.' Fine of up to $500,000 or imprisonment for up to 5 years or both.
18 U.S,C. §§ 152 and 3571-,

Sorlwnna Cupyr!ghi {o) 1996\-2016 Bosl£‘¢asa, LLG -ww.bas!casa.cum Bast Casa Eankruplcy

Case: 18-30581 Doc# 17 Filed: 06/25/18 Entered: 06/25/18 09:55:04 Page 4 of 6

 

 

UNITED STATES BANKRUPTCY COURT
NORTHERN D|STRICT OF CAL|FORNIA

ln re Case No. 18-30581
Tsai Luan Ho

Debtor(s). /

 

CRED|TOR MATR!X COVER SHEET - AMENDED

l declare that the attached Creditor Mailing Matrix, consisting of 1 sheets, contains the correct,
complete and current names and addresses of all priority, secured and unsecured creditors listed in debtor's
filing and that this matrix conforms With the Clerl<'s promulgated requirements

DATED: June 25, 2018

lsi Paul R. Shankman
Signature of Debtor's Attorney or Pro Per Debtor

 

Soflware Copyrighl (c) 1996-2018 Best Casc‘ LLC -www.beslcase,com Besl Casa Bankruptcy

Case: 18-30581 Doc# 17 Filed: 06/25/18 Entered: 06/25/18 09:55:04 Page 5 of 6

 

Miller Starr Regalia
351 California Street
Suite 1110

San Francisco, CA 94104

Case: 18-30581 Doc# 17 Filed: 06/25/18 Entered: 06/25/18 09:55:04 Page 6 of 6

 

